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                                  United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

      GEORGE KENNETH SCHOPP,                             §
                                                         §
                     Plaintiff,                          §
                                                         §
      v.                                                 §   CIVIL ACTION NO. 4:16-CV-890
                                                         §   JUDGE MAZZANT/JUDGE JOHNSON
      RESULTS NATIONAL, LLC,                             §
                                                         §
                     Defendant.                          §
                                                         §
                                                         §
                                                         §

                                            FINAL JUDGMENT

             Pursuant to the Memorandum Adopting the Report and Recommendation of the United

     States Magistrate Judge entered in this matter (Dkt. 35), it is,

             ORDERED, ADJUDGED, AND DECREED that this case is DISMISSED in its

     entirety.

.            All relief not previously granted is hereby DENIED and all costs shall be borne by the

     party incurring same.

             The Clerk is directed to CLOSE this civil action.

             IT IS SO ORDERED.
             SIGNED this 1st day of November, 2018.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES DISTRICT JUDGE
